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From:               Kira Kelley
To:                 Enslin, Sharda; Karmen McQuitty; Robertson, Heather (she/her/hers); Sarff, Kristin; Claire Glenn
Subject:            [EXTERNAL] Re: Settlement Proposal
Date:               Thursday, November 21, 2024 5:18:50 PM


Hi Sharda,

Just wanted to follow up on this, and to check in on when the City would be
available for a deposition.

Hope you are well!

Kira

____________________
Kira Kelley (they/she)
Staff Attorney
Climate Defense Project
climatedefenseproject.org




                                                                                                                       Exhibit F
